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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-cv-2155-WJM-SKC

   RAYMOND LYALL, et al.,

             Plaintiffs,

   v.

   CITY AND COUNTY OF DENVER,

             Defendant.


                           JOINT NOTICE OF PROPOSED SETTLEMENT

             The Parties, pursuant to Fed. R. Civ. P. 23(e), hereby notify the Court of a proposed

   settlement of the Certified Class claims in the above-referenced action. The parties are in the

   process of obtaining signatures to finalize the proposed settlement and, once all signatures are

   obtained, the Parties will be in the position to advise the Court of the terms and proceed pursuant

   to the Court’s direction. A separately filed Motion for a Status Conference will be filed by the

   Parties for this purpose.

             The Parties are also presenting a proposed settlement of the individual named Plaintiffs’

   claims for damages to City Council for its consideration. The City Council will vote on the

   proposed settlement regarding the individually named Plaintiffs at its regularly scheduled meeting

   on March 4, 2019, during open session. If approved, the Parties will so advise the Court of the

   settlement of the individual Plaintiffs’ damage claims pursuant to WJM Revised Practice Standard

   IV.C.2.
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        DATED this 26th day of February 2019.

                                          Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I certify that on this 26th day of February 2019, I electronically filed the foregoing JOINT
   NOTICE OF PROPOSED SETTLEMENT with the Clerk of the Court using the CM/ECF
   system which will send notification of such filing to the following:

      Jason Flores-Williams, Esq.
      Law Office of Jason Flores-Williams
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      Andrew McNulty, Esq.
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                                                      s/ Wendy Shea
                                                Denver City Attorney’s Office




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